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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MISSOURI

      COURTROOM MINUTE SHEET CRIMINAL PROCEEDINGS

Date April 2, 2018              Case No.    4:16CR00159 AGF

UNITED STATES OF AMERICA vs. Loren Allen Copp
Judge Audrey G. Fleissig            Court Reporter     P. Dunn Wecke
Deputy Clerk B. Porter              Interpreter N/A
Assistant United States Attorney(s) Jennifer Winfield & Colleen Lang
Attorney(s) for Defendant           Marc Johnson & Nathan Swanson

Parties present for change of plea. The defendant advises that he does not wish
to change his plea and would like to proceed to trial. The defendant requests a
bench trial. The government has no objection. The defendant, counsel, and Court
sign a waiver of a jury trial form. The Court conducts a Frye hearing. The Court
provides details of the government’s proposed plea agreement. The defendant
advises that he understands the terms of the agreement and rejects the offer. The
defendant requests to proceed pro se with the Rosenblum Schwartz firm as standby
counsel. The Court conducts an inquiry into the defendant’s ability to represent
himself. The Court grants leave for the defendant to proceed pro se. The
defendant will appear next for a final pretrial conference on April 9, 2018 at 9:00
AM.




Defendant is      Released on BOND           Remanded to CUSTODY

Proceedings Commenced 10:42 AM              Proceedings Concluded 12:34 PM
